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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

DACOLA SHORES PROPERTIES, LLC,
Plaintiff,

vs. Docket No.: 6216-cv-O6263-MAT-JWF

ERIE INSURANCE COMPANY,

Defendant.

 

STIPULATION OF DISMISSAL

WHEREAS, plaintiff and defendant have reached a settlement acceptable to both

parties and

WHEREAS the plaintiff has executed a general release with a confidentiality

provision;

NOW, THEREFORE, pursuant to Rule 4l(a)(l) of the Federal Rules of
Civil Procedure, the parties agree and stipulate that plaintiffs complaint shall be dismissed with

prejudice and on the merits, that each party shall bear their own fees and costs in connection with

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this action. and that the Clerk of the Couit may file this Stipulation ot`Dismissal without

providing further notice.

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Buffalo, New York

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RAYM()ND C. STILWEbL

 

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SO ORDERED

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/ Mgé:HAEL A. fELEscA
’ Umted States DistrictJudge

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